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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA,

CRIMINAL ACTION
NO. 17~10288-WGY

V.
AEGERION PHARMACEUTICALS, INC.,

Defendant.

 

YOUNG, D.J. November 20, 2017

MEMDRANDUM & ORDER

Let's see if I’ve got this straight.1

Aegerion Pharmaceuticals, Inc. (“Aegerion”) developed an
effective medicine, called Juxtapid, to treat high cholesterol
in people with a rare genetic disease. The treatment did not
come cheap. “At market launch in January 2013, Juxtapid cost
roughly $295,000 per patient per year. The annual cost of
Juxtapid later increased to over $330,000 per patient per year.”

Information, T 19.

 

1 This recitation is taken from the Information (the
charging document) and the plea agreement. ECF Nos. l, 2. Of
course, should the agreement not be accepted by this Court, the
government will have to prove these matters on competent
evidence before an American jury.

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Thereafter Aegerion engaged in a series of unfair and
deceptive acts, including outright fraud, which pervaded
corporate management, all designed to increase the use of
Juxtapid in circumstances where such treatment was not medically
indicated. Aegerion wrongfully received a great deal of money
from this corporate criminal conduct. Still more important, it
appears that Aegerion knowingly induced the prescription of
Juxtapid to many patients for which it would do no good, thus
crowding out more promising therapies. Information, I 37-39.
Indeed, “[n]umerous HeFH, statin-intolerant, and diabetic
patients, including elderly and pediatric patients suffered
adverse events, including liver toxicity and gastrointestinal
distress, and had to discontinue use of Juxtapid.” Information,
L 39.

Facing two misdemeanor counts of introducing misbranded
drugs into interstate commerce, Aegerion now seeks to plead
guilty,2 pursuant to Fed. R. Crim. P. ll(c)(l)(C) (the “‘C’
plea”). Under a “C” plea, the judge's choice at sentencing is
limited to imposing the sentence agreed between the government
and the offender or rejecting the plea altogether. ld; at

ll(c)(3)(A). The judge, of course, is forbidden from engaging

 

zCharging decisions are entirely the province of the
government for which it alone bears responsibility. This Court
will express no opinion thereon.

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in the plea bargaining itself. ld; at ll(c)(l). These two
requirements conflict whenever a court is inclined to reject a
“C” plea since an unexplained rejection smacks of personal fiat
and any explanation sounds like court interference in the
parties’ good faith bargaining. There is no easy course.
Seeking to avoid this difficulty, this Court in United States v.
Orthofix, Inc., 956 F.Supp.2d 316 (D. Mass. 2013), thoroughly
considered the issues and explained its conclusion that the “C”
plea has no place, save in the rarest circumstances, in the
context of corporate criminal pleas. ;d; at 331-37.

As this case illustrates, the issues presented by the “C”
plea in the corporate context are more disquieting than I had
originally thought.

To begin:

Here, there is much to commend the proffered plea;
unfortunately much of it remains sealed so as not to compromise
on-going criminal investigations. It suffices here to say that
Aegerion's top management has undergone a near complete makeover
and that its cooperation with the government's law enforcement
efforts is truly extraordinary.

That said, in light of the larger issues discussed below,
it is the duty of this Court candidly to explain the issues it
has with this proffered “C” plea. This Court is not bargaining

with the parties. None of these points - singly or together -

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is necessarily a deal breaker. Each one is a consideration -
and perhaps I may well not yet have considered every relevant

issue.

Oh, Aegerion amended “C” plea -
How do I dislike thee?

Let me count the ways:

0 The government agrees that sentencing may take
place immediately upon this Court’s acceptance of
the “C” plea even without the preparation of a
Pre*Sentence Report. Why? One can readily
understand why Aegerion wants its plea and
sentence to be a one-day story, soon forgotten.
Why does the government agree? Isn’t it better
to permit the Court to obtain a thorough Pre-
Sentence Report from its own Probation Office the
better to understand this complex case?

¢ Are the Sentencing Guidelines properly
calculated? Why is there no enhancement for
vulnerable victims? U.S.S.G. § 3A1.1(b)(1). One
would think that the marketing of misbranded
drugs to a patient population in need of
appropriate treatment would meet the
quintessential definition of vulnerable victims.
Is there no enhancement for the use of
sophisticated means to commit the crimes? After
all, the scheme here involved falsely marketing
Juxtapid for off-label uses to sophisticated
physicians. One can readily infer that such
false marketing was itself sophisticated.3

 

3 The government charged Aegerion under 21 U.S.C. sections
331(a), 333(a)(1), and 352(f). When calculating Aegerion's
sentence, we are directed to section 2N2.1 of the sentencing
guidelines. The section in question does not contain reference
to the use of sophisticated means to commit the crimes charged.
Compare §2N2.1, with §2B1.l(b)(10(C) (“[If] the offense
otherwise involved sophisticated means and the defendant

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¢ Assuming without concluding that the Sentencing
Guidelines are properly calculated, the
recommended fine range is not less than
$18,542,192 to $30,903,653. Even so, the “C”
plea calls for a fine of only $6,200,000 paid in
installments and forfeiture of $l,OO0,000. The
parties justify the downward variance by pointing
to the extraordinary cooperation of Aegerion’s
new management and its present precarious
financial condition.

What is left unexplained is why the
government does not simply let Aegerion collapse
in disgrace. Surely Aegerion is not too big to
fail. After all, its stock apparently is now
owned by Novelion, Inc., an innocent investor but
one knowledgeable of Aegerion's criminal conduct
at the time of its investment. Couldn’t an asset
sale to Novelion fund the civil settlement, the
fine, and the forfeiture? Couldn’t Novelion pick
up Aegerion's employees? After all, Juxtapid is
an FDA approved medicine with an appropriate
therapeutic value.

Perhaps these questions do not make
economic, real world sense. The point is, I do
not know and the proffered “C” plea does not
begin to explain the financial picture in detail.
Apparently the parties think their
representations suffice. They do not. I have a
job to do - an independent judicial
responsibility I may not delegate to others.

0 Most problematic, this “C” plea provides not one
cent of restitution to the actual victims. This
result is justified say the parties by the multi-
million dollar proposed settlement between
Aegerion and the third-party payors, federal and
state, who were fleeced into paying for
misbranded drugs. Thus, governmental actors (who
inferentially provided most of the purloined
funds) get partial repayment but the actual
victims, many of whom suffered medical

 

intentionally engaged in or caused the conduct constituting
sophisticated means, increase by 2 levels”).

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complications and physical and emotional harm,
get nothing.

How can I possibly justify such a result?
The parties aver “that the complication and
prolongation of the sentencing process that would
result from an attempt to fashion a proper
restitution order under 18 U.S.C. §3663 outweighs
the need to provide restitution to any non-
governmental victims in this case.” Plea
Agreement, 5d. Really?

Why? The parties are utterly silent on this
point. Indeed, in light of this Court's
management of the In Re Relafen Antitrust
Litigation, 231 F.R.D. 52, 64 (D. Mass. 2005), it
hardly seems an insurmountable burden to find out
who got Juxtapid when such medication was not
clinically indicated. After all, the parties
agree Aegerion’s gross gain is $15,451,827.

 

¢ This “C” plea obligates the government not to
undertake any further prosecution of Aegerion.
What is the government trading away here? Why?
What other companies may be implicated? None of
this information is provided. Are we not
concerned we may be foisting misbranded drugs on
innocent and unsuspecting victims in other
nations without adequate notification to their
regulatory authorities?

0 This Court has already commended the new
management of Aegerion for its truly remarkable
cooperation. It appears to go far beyond the
cooperation required in the plea agreement. Why,
then, is the cooperation agreement portion of the
proffered “C” plea so pallid? The language of
the proffered “C” plea is hardly a template for
other cases. It obligates the corporate
defendant to do little more than could be
required by a proper subpoena.

0 The proffered “C” plea includes a comprehensive -
and in this Court's mind adequate - internal
compliance and review program to prevent any
recurrence of this wrongdoing. The problem is
that the proposed program is entirely internal.

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There is no provision for the Court's personnel
(or some independent employee) independently to
examine compliance much like an on-site bank
examiner. Even with strict compliance,
independent evaluation provides valuable insight.
§§§ Gretchen Morgenson, The Fed Wants to Make
Life Easier for Big-Bank Directors, The N.Y.
Times (Aug. ll, 2017),https://nyti.ms/qu?NOu
(“[R]educing the information flow between bank
boards and [bank examiners] just doesn’t seem
smart.”); see also Katrice Bridges Copeland, Ehe
Yates Memo: Looking for “Individual
Accountability” in all the Wrong Places, 102 Iowa
L. Rev. 1987, 1924 (2017)(“One of the principal
problems with the government's approach to
corporate crime is that the government expects
the corporation to police itself. The notion that
the corporation should perform the prosecutor's
function of investigating, identifying, and
providing evidence against the wrongdoer within
the corporation is ludicrous. . . . If the
government truly wants to achieve individual
accountability, it must therefore conduct its own
investigations from start to finish, rather than
relying upon the corporation's internal
investigation.”).

 

0 While the amended “C” plea now includes a period
of probation, it still prohibits this Court from
setting any special conditions beyond those set
forth in the agreement.

0 Perhaps Aegerion’s plea is premature. Maybe the
Court ought stay its hand until the other
criminal investigations have run their course.
In that way, the Court fairly could evaluate the
actual value of Aegerion's cooperation. §f;
U.S.S.C. 5K1.1.

The Larger Issue - A Two-Tier Criminal Justice System

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District judges throughout the United States play two vital
roles in our constitutional polity. They try cases and sentence
offenders. These two functions lie at the very heart and core
of the judicial function. Upon their proper and dispassionate
discharge rests much of the moral authority of the third branch
of our government.

The “C” plea displaces the common law adversarial
proceeding and thus directly affects the judicial role. As this
Court remarked in a related context - -

Judicial review must be exacting and thorough. The
task is demanding because the adversariness of litigation
is often lost after the agreement to settle. The settling
parties frequently make a joint presentation of the
benefits of the settlement without significant information
about any drawbacks. If objectors do not emerge, there may
be no lawyers or litigants criticizing the settlement or
seeking to expose flaws or abuses.“]

The point in all this is that once skilled counsel
arrive at a settlement in principle, the pressure to
approve it and get the case concluded can become well nigh
irresistible.

[Unfortunately], we have so “deconstructed the role of
the trial judge” that far too many of our colleagues are
today unclear on the concept. §§§ Judith Resnik, Mediating
Preferences: Litigant Preferences for Process and Judicial
Preferences for Settlement, 2002 J. Disp. Resol. 155, 164
(2012). “This is a trial court. Trial Judges ought go on
the bench every day and try cases.” William G. Young,
Speech to the American College of Trial Lawyers 54th Spring

 

4 See e.g., the plea agreement in United States v. Baker,
(N. D. Ill. No. 09-cr-175, filed Aug. 24, 20l1) recently
criticized in David Enrich, A Hedge Fund Manager Committed
Fraud. Would the U.S. Let Him Go?, N.Y. Times (Nov. 18, 2017),
https://www.nytimes.com/2017/11/18/business/a-hedge-fund-
manager-committed-fraud-would-the-us-let-him-go.html.

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Meeting (Mar. 6, 2004), available at
http://www.actl.com/PDFs/JudgeYoungSpeech. Pdf (quoting the
Hon. John Meagher, Senior Active Justice of the
Massachusetts Superior Court (1978)). That simple precept
applies with full force to all of us privileged to serve as
judges on the federal district courts[.]
Somehow, we seem to be forgetting that the very reason
for our judicial existence is to afford jury trials to our
people pursuant to the United States Constitution. U.S.
Const. art. III, sec. 2. Ironically, our very ability to
control our dockets to avoid the quotidian details of daily
jury trials and save ourselves instead for “really big”
constitutional adjudication insures instead that such cases
will come our way less and less. See Enwonwu v. Chertoff,
376 F. Supp. 2d 42 (D. Mass. 2005); John W. Keker, The
Advent of the “Vanishing Trial”: Why Trials Matter, The
Champion (Sept./Oct. 2005) 32, 33 (“Judges led the charge
to fewer trials and now they regret it.”)”
In re Relafen Antitrust Litigation, 231 F.R.D. at 58, 88, 90-91.

The Court is not alone in its skepticism. “While in recent
years the government and the defense bar have become accustomed
to relatively little judicial objection to their proposed
resolutions, the status quo is now in flux.” Gina L. Simms et
al., The Judge Doth Reject: How to Prepare for Increased
Judicial Scrutiny of Corporate Settlement Agreements in Health
Care Cases, Ober Kaler (2013), www.ober.com/publications/2188-
the-judge-doth-reject-how-prepare-increased-judicial-scrutiny-
corporate. But see George Fisher, Plea Bargaining’s Triumph 230
(Stan. Univ. Press 2003)(“[P]lea narganing grew so entrenched in
the halls of power today, though its patrons may divide its

spoils in different ways, it can grow no more. For plea

bargaining has won.”). See generally Gordon Bourjaily, DPA DOA:

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How and Why Congress Should Bar the Use of Deferred and Non-
Prosecution Agreements in Corporate Criminal Prosecutions, 52
Harv. J. on Legis. 543, 547-55 (2015) (“DPAs undermine the rule
of law by facilitating a shadow system of adjudications away
from any oversight. . . . DPAs also undermine the legitimacy of
the criminal justice system in a second way--by creating the
perception that certain business organizations are ‘Too Big to
Jail.’”).

Courts throughout the country have rejected “C” pleas that
do not promote justice. In February of 2010, Guidant LLC
(“Guidant”), a medical device manufacturer, entered into a “C”
plea with the Department of Justice (“DOJ”). See Jeremy
Sternberg & Christopher Iaquinto, The Future of Corporate
Criminal Pleas Under Rule 11(C)(1)(c), 28-WTR Crim. Just. 12, 14
(2014). The DOJ charged Guidant with two misdemeanor counts for
submitting false and misleading reports to the Food and Drug
Administration (“FDA”), and for refusing to report to the FDA a
medical device correction in connection with its medical device
products. United States v. Guidant LLC, 708 F.Supp.2d 903, 907
(D. Minn. 2010). Following a plea hearing, Judge Donovan Frank
rejected the “C” plea, explaining that there were two provisions
in the agreement that were “not in the best interests of justice
and [did] not serve the public's interests because they [did]

not adequately address Guidant's history and the criminal

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conduct at issue.” lg; at 915. The court explained that a lack
of provision requiring probation was not in the public's
interest and it was not in the interest of justice. ld; at 917.
The court also took issue with the lack of guidance in the
forfeiture piece of the agreement and “made suggestions about
how the government and Guidant could work together to satisfy
the courts concerns that an appropriate portion of the
forfeiture amount would go to the Medicare program.” Iaquinto,
28-WTR Crim. Just. at 14; see Guidant LLC, F.Supp.2d at 920-21.
In the Northern District of California, Judge James Donato
rejected three “C” pleas from corporate defendants charged with
price fixing in the electrolytic capacitor industry. §e§ Nell
Clement, Judge Donator Rejects Corporate Pleas in Capacitor
§§§§§, Farella Compliance Gap (August 25, 2017),
https://www.farellacompliancegap.com/2017/08/judge-donato-
rejects-corporate-pleas-capacitor-cases/. In a case against
Matsuo Electric Co. Ltd., Judge Donato rejected the plea
agreement because “he did not have sufficient financial
information about the company to support the low fine amount and
payment plan, calling the plea agreement a ‘sweetheart deal’ for
the company.” £d; Two months later, Judge Donato rejected a
second plea agreement, this time for Elna Co. Ltd., because he
believed the fine imposed on the defendant was too lenient. ld;

In a third case a month later, Judge Donato rejected another “C”

[ll]

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plea for Holy Stone Holdings Co. Ltd. and stated that “he would
only accept [‘C’ pleas] in exceptional circumstances.” §d;

Aware of the concern for promoting justice, Aegerion
advances three reasons why this Court ought nevertheless here
take a pass and accept this proffered “C” plea.

First, Aegerion argues that times have changed since
Orthofix, Inc. Look, it says, today we have the “Yates Memo”
within the Department of Justice “emphasizing the importance of
prosecuting the individuals responsible for the underlying
wrongdoing when combatting corporate crime.” Def.’s Memo Supp.
Pl. Agr., 19. Such prosecutions depend on corporate
cooperation, Aegerion claims, and therefore “C” pleas must be
granted to garner such cooperation. ld; These are questionable
premises. There has been no uptick in the prosecution of
criminal executives since the issuance of the “Yates Memo” in
2015. Moreover, no responsible analysis suggests that, given
the government's extensive powers to secure cooperation,
granting “C” pleas plays any role in aiding its law enforcement
goals.

Second, Aegerion posits that “[e]ntering into a Rule
11(c)(l)(C) plea is often a corporation's only option to resolve
criminal charges as the uncertainty in sentencing inherent in
Rule 11(c)(l)(B) pleas causes too great a risk to innocent

employees, shareholders, investors, and other interested

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parties.” Def.’s Memo Supp. Pl. Agr., 20. Say what? Why is a
“C” plea often a corporation's only option to resolve criminal
charges? Does Aegerion think district judges simply are not
competent to sentence corporate criminals? Or is it that the
interests of drug dealers' innocent wives, children, neighbors,
and colleagues are somehow less important than those of a
corporation's shareholders and investment bankers? A “C” plea
is never a corporation's only option - it has the option of a
fair and impartial trial before an American jury, the purest and
most incorruptible justice humankind has ever conceived.

Finally, Aegerion argues forcefully that rejecting its “C”
plea would result in impermissible disparity in our sentencing
regime. It notes, with apparent accuracy, “[t]he vast majority
of corporate criminal charges involve (C) pleas. Since Orthofix
pled guilty in December 2012, at least 85 companies have had (C)
pleas accepted by federal courts.” Def.’s Memo Supp. Pl. Agr.,
20-21. Aegerion supports this general statement with a footnote
carefully limited to detailing the practice concerning criminal
pharmaceutical corporations in this district. It is worth
repeating here in full:

In recent years, a number of pharmaceutical

companies have plead [sic] guilty to criminal conduct

pursuant to Fed. R. Crim. P. 11(c)(l)(C) in the

District of Massachusetts. See, e.g., Plea Agreement

at 2, United States v. Warner Chilcott Sales U.S.

(LLC), No. 15-cr-10327 (D. Mass. Oct. 29, 2015) (Dkt.
#2); Plea Agreement at 3, United States v.

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GlaxoSmithKline LLC, No. 12-cr-10206 (D. Mass. July 2,
2012)(Dkt. #2);Plea Agreement at 6, United States v.
Merck Sharp & Dohme Corp., No. ll-cr-10384 (D. Mass.
Dec. 12, 2011) (Dkt. #12); Plea Agreement at 3,
United States v. Elan Pharm., Inc., No. 10-cr-10431
(D. Mass. Feb. 28, 2011); Revised Plea Agreement at
8, United States v. SB Pharmco Puerto Rico, Inc., No.
10-cr-10355 (D. Mass. Nov. 8, 2010) (Dkt. # 10); Plea
Agreement at 10, United States v. Forest Pharm.,

Inc., No. 10-cr-10294 (D. Mass. Sept. 15, 2010) (Dkt.
#7); Plea Agreement at 5, United States v. Ortho-
McNeil Pharm., LLC, No. lO-cr-10147 (D. Mass. Apr. 29,
2010) (Dkt. #3); Plea Agreement at 3, United States V.
Pharmacia & Upjohn Co., No. 09-cr-10258 (D. Mass.
Sept. 2, 2009) (Dkt. #2); Plea Agreement at 3, United
States v. Biovail Pharm., Inc., No. 08-cr-10124 (D.
Mass. Sept. 14, 2009); Plea Agreement at l, United
States v. Bryan Corp., No. 07-cr-10353,(D. Mass. Dec.
20, 2007.) (Dkt. #5); Plea Agreement at 3, United
States v. Pharmacia & Upjohn Co., Inc., No. 07-cr-
10099 (D. Mass. Apr. 3, 2007) (Dkt. #2); Plea
Agreement at 3, United States v. Schering Sales Corp.,
No. 06-cr-10250-RBS (D. Mass. Sept. 20, 2006) (Dkt.
#12); Plea Agreement at 5, United States V. Serono
Laboratories, Inc., No. 05-cr-10282 (D. Mass. Dec.

21, 2005) (Dkt. #7); Plea Agreement at 2, United
States v. Warner-Lambert Co. LLC, No. O4-cr-10150-RGS
(D. Mass. May 13, 2004)(Dkt. #2); United States v.
Bayer Corp., No. 03-cr-10118-RG (D. Mass. May 8, 2003)
(Dkt. #7); Plea Agreement at 2, United States v. §§§
Pharm. Products, Inc., No. 98-cv-10547 (D. Mass. Oct.
1, 2001) (Dkt. #44).

 

 

 

 

 

 

 

 

Reduced to its essence, Aegerion’s argument goes like this:
Look at this roster of criminal pharmaceutical corporations

sentenced in Massachusetts:

RCSTER OF CRIMINAL PHARMMCEUTICAL CORPORATIONS

Warner Chilcott Sales U.S. (LLC)
GlaxoSmithKline LLC

Merck Sharp & Dohme Corp.

Elan Pharm., Inc.

SB Pharmco Puerto Rico, Inc.
Forest Pharm, Inc.

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Ortho-McNeil Pharm., LLC.

Pharmacia & Upjohn Co.

Biovail Pharm. Inc.

Bryan Corp.

Schering Sales Corp.

Serono Laboratories, Inc.

Warner-Lambert Co. LLC

Bayer Corp.

TAP Pharm. Products, Inc.

Like these corporations, we [Aegerion] are a criminal
pharmaceutical corporation. They all got “C” pleas. Therefore
we should too - it’s forbidden disparity if we don’t.

This argument is silly - complete balderdash. The
disparity addressed by the Sentencing Reform Act of 1984 and the
jurisprudence that follows it deals with unwarranted disparity
among sentences actually imposed, not the analyses the judges
used to get there.5

Aegerion has, however, proved a different type of
unwarranted disparity - the shocking disparity between the
treatment of corporations and individuals in our criminal
justice system. I am ashamed I had not recognized this glaring
inequity until this case. Passing without further comment the
truly breathtaking extent of pharmaceutical corporate
criminality revealed by the “roster” above, Aegerion proves

beyond peradventure that a forbidden two-tier system pervades

our courts. Corporations routinely get “C” pleas after closed

 

5 Save perhaps as that analysis is reflected in an actual
sentence,

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door negotiations with the executive branch while individual
offenders but rarely are afforded the advantages of a “C” plea.
Instead, they plead guilty and face a truly independent judge.
This is neither fair nor just; indeed, it mocks our
protestations of “equal justice under law.”

It's not hard to understand why corporations facing
criminal charges seek “C” pleas. It gives them various
advantages, including the most effective damage control.

Save when they are themselves on the attack, seeking to
enforce their own property rights, corporations today seek to
avoid the legal system altogether, see In re Relafen Antitrust
Litigation, 231 F.R.D. at 89-93; Mark Galanter, The Hundred-Year

Decline of Trial and the Thirty Years War, 57 Stan. L.Rev. 1255,

 

1272-74 (2005) (“The recent accelerated decline in the number of
trials is . . . part of a much broader turn from law, a turn
away from the definitive establishment of public accountability
in adjudication . . . . ”), negotiating their differences with
the administrative state in other fora, see William G. Young, §§

Open Letter to U.S. District Judges, 50-JUL Fed. Law. 30, 33

 

(2003) (“[Corporations have] a good chance of opting out of the
legal system altogether. Today's expansive reading of the
Federal Arbitration Act allows the unilateral imposition of
arbitration clauses to trump all sorts of civil rights and

consumer protection legislation. Coupled with today's expansive

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preemption jurisprudence, business can (and does) make a
rational calculus that leads it to lobby for an ever-diminishing
role for the federal district courts.”). They have been
enormously successful. The insurance industry found it could
largely immunize itself from suit due to the Employee Retirement
Income Security Act (“'ERISA”).6 In light of Supreme Court
jurisprudence, many corporations found that through mandatory
anti-consumer arbitration they could largely lock the little guy

out of the courthouse.7 Moreover, corporations frequently found

 

6See 29 U.S.C. § 1132(a)(1)(B); Aetna Health Inc. v.
Davila, 542 U.S. 200, 210 (2004) (”[I]f an individual, at some
point in time, could have brought his claim under ERISA §
502(a)(l)(B), and where there is no other independent legal duty
that is implicated by a defendant's actions, then the
individual's cause of action is completely pre-empted by ERISA §
502(a)(l)(B)”); DiFelice v. Aetna U.S. Healthcare, 346 F.3d 442,
459-460 (3d. Cir. 2003) (Becker, J.)(“Given that ERISA's
remedial scheme often provides no remedies, litigants have gone
to great lengths to identify state causes of action that are not
preempted by ERISA, and courts have generally been sympathetic
to their efforts even when ultimately finding their claims
preempted”); Andrews-Clarke v. Travelers Ins. Co., 984 F.Supp.
49, 63 n.74 (D. Mass. 1997)(“Whenever Congress extinguishes a
right which heretofore has been vindicated in the courts through
citizen juries, there is a cost. It is not a monetary cost. lt
is a cost paid in rarer coin - the treasure of democracy
[itself]”).

7 Indeed a thorough government study confirms how effective
is compulsory consumer arbitration in stifling consumer claims
altogether. See Arbitration Study Report to Congress, pursuant
to Dodd-Frank Wall Street Reform and Consumer Protection Act §
1028(a), Consumer Financial Protection Bureau (March 2015),
https://www.consumerfinance.gov/data-research/research-
reports/arbitration-study-report-to-congress-2015/; CFPB Study
Finds That Arbitration Agreements Limit Relief for Consumers,
Consumer Financial Protection Bureau, (Mar. 10, 2015),
https://www.consumerfinance.gov/about-us/newsroom/cfpb-study-

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they could make peace with many executive agencies without
admitting liability (thus exposing them to related civil
litigation) and, even more important, could compel the

imprimatur of the courts thereon.8

 

finds-that-arbitration-agreements-limit-relief-for-consumers/.
Whatever the fate of fate of implementing regulations, this
devastating study will not disappear. Its factual findings are
admissible wherever relevant. Fed. R. Evid. 803(8)(€); Beech
Aircraft Corp. v. Rainey 488 U.S. 153, 161 (1988). Even so,
banks and so called service companies still deploy such
compulsory anti-consumer arbitration clauses in their fine
print. When they nevertheless advertise themselves as pro-
consumer, their overweening sophistry may well qualify as an
unfair and deceptive practice. State authorities could, of
course, regulate these matters were it not for the protective
cloak the Supreme Court has thrown over mandatory anti-consumer
arbitration. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333,
352 (2011); American Exp. Co. v. Italian Colors Restaurant, 133
S. Ct. 2304, 2309 (2013)(“[T]he antitrust laws do not guarantee
an affordable procedural path to the vindication of every
claim.”); Jessica Silver-Greenberg and Michael Corkery, in
Arbitration, a “Privatization of the Justice System”, N.Y. Times
(Nov. l, 2015),
https://www.nytimes.com/2015/11/02/business/dealbook/in-
arbitration-a-privatization-of-the-justice-system.html (“Over
the last 10 years, thousands of businesses across the country -
from big corporations to storefront shops - have used
arbitration to create an alternate system of justice.”). ;
Jessica Silver-Greenberg and Robert Gebeloff, Arbitration
Everywhere, Stacking the Deck of Justice, N.Y. Times (Oct. 31,
2015),
https://www.nytimes.com/2015/11/Ol/business/dealbook/arbitration
-everywhere-stacking-the-deck-of-justice.html.

8 See United States S.E.C. v. Citigroup Global Markets Inc.,
827 F.Supp.2d 328, 330 (S.D. N.Y. 2011)(Rakoff, J.) (denying
consent judgment “because the Court ha[d] not been provided with
any proven or admitted facts upon which to exercise even a
modest degree of independent judgment”), rev’d, 752 F.3d 285 (2d
Cir. 2014).

 

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Small wonder, then, that corporations seek the same cozy
model (and act as though it is their due) even when facing
serious criminal charges. Consider the advantages to the
corporation of the “C” pleas All negotiations are private. No
charges are brought until the plea deal is finalized so the risk
of investigative journalism is minimized. All aspects of the
sanction are negotiated so there will be no surprises from the
judiciary. As the record here makes clear, the likelihood of
the judge turning down the “C” plea is virtually non-existent.
In a best case scenario, the court will perform the plea
colloquy with a lower level functionary and will immediately
impose the agreed upon sanction. Case over - in the Vernacular
of the days of the print journalism, “a one day story, second
section, below the fold.”

What is far more difficult to fathom is why the government
negotiates a “C” plea with a corporation. In my experience,
individuals are afforded “C” pleas only when the government's
case is weak and it is trying to lock in the plea or when it is
trying to flip an implicated co-defendant and obtain evidence
against others. Neither of these concerns apply in most
corporate criminal prosecutions. A corporation has no Fifth
Amendment privilege, Braswell v. United States, 487 U.S. 99, 102

(1988), and it cannot testify. In my experience, the government

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never even commences a criminal prosecution against a
corporation unless it has a very strong case.9

So why does the government uniformly buckle on this point?
Knowledgeable commentators have levelled harsh criticisms
against prosecutors for such risk aversion. See e.g. Jesse
Eisinger, The Chickenshit Club: Why the Justice Department Fails

to Prosecute Executives (Simon & Schuster 2017); Jed S. Rakoff,

 

Justice Deferred is Justice Denied, The N.Y. Review of Books
(Feb. 19, 2015),
http://www.nybooks.com/articles/2015/02/19/justice-deferred-
justice-denied/. Lacking sufficient knowledge, this Court
expresses no opinion.

I can, however, offer two observations prosecutors ought
always keep in mind.

First, trials matter. “Every lawsuit - whether it is a
dispute arising out of a contract, the purchase of a defective
product, or the conduct of a government official - has the
potential to change the rules that govern behavior going
forward.” Alexandra Lahav, In Praise of Litigation 6 (Oxford
Univ. Press, 2017). The verdict of an American jury has a moral

force incomparably greater than any plea. That's why

 

9 APTX was an exception. There the prosecution appeared to
have been brought seeking only to salvage something - anything -
from inept government contract administration. Orthofix, Inc.,
956 F.Supp.Zd at 335-37.

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corporations are so desperate to avoid them. Corporate pleas
involve well-educated elites talking to other equally well
educated elites. Things are said, sanctions imposed, nothing
really happens. Prices do not come down. Consumers gain no
perceptible benefit. Corporations march on, apparently
impervious to government regulation or the law itself.

Contrast an actual trial: every trial is a public morality
play - perhaps a story of greed and avarice or amoral chicanery,
all of it played out live upon actual understandable evidence
before twelve public judges largely chosen at random. The
result is the fairest, most incorruptible, democratic expression
of justice humankind has ever known. “[L]itigation is a social
good [which] enables people to promote the rule of law and
affirms our citizen-centered political system.” Id. at 1.

Litigation helps democracy function in a number
of ways: it helps to enforce the law; it fosters
transparency by revealing information crucial to
individual and public decision-making it promotes
participation in self-government; and it offers a form
of social equality by giving litigants equal
opportunities to speak and be heard.

Id. at 1-2.

[A] trial can also provide the impetus for the
creation and dissemination of stories that might not
otherwise be heard, as well as testing narratives that
cannot withstand scrutiny. By fitting facts into
legal standards, by laying blame and freeing from
blame, a trial produces narratives about our society.

The competing narratives presented by defendants and

plaintiffs sharpen understanding of existing
disagreements and help participants and observes to

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clarify what is at stake for society. Individuals and

groups can then debate those narratives and dispute

them, so that although the legal process ends with the

trial and appeal, the democratic conversation can

continue.

Id. at 66-67. Prosecutors ought not lightly bargain away the
compelling societal advantages of a trial simply to insure a
determination of corporate guilt.

Second, every corporate “C” plea diminishes the legitimacy
of our independent judiciary. See generally Bourjaily, 52 Harv.
J. on Legis. at 547-55. Even when prosecutors agree to bargain
for a plea, why make it a “C” plea? What does a “C” plea add to
the public good where prosecutors have a sound case? Face it,
if used in strong cases the “C” plea delegitimizes the central
role of the trial judge. m

Any injustice rankles Americans, systemic injustice rankles

them profoundly. Those of us who occupy the constitutional

 

m I have served as a judicial officer for nearly 40 years now. I
have never seen more widespread and varied attempts to
delegitimize our judicial institutions. See e.g. “[Our criminal
justice system] is a joke and it’s a laughingstock,” Donald J.
Trump, President of the United States of America, Remarks in
Cabinet Meeting (Nov. 1, 2017)(transcript available at
https://www.whitehouse.gov/the-press-office/2017/1l/Ol/remarks-
president-trump-cabinet-meeting); Suzanne Spaulding, Don’t
Overlook the Kremlin’s Threats to our Courts, Wash. Post (Oct.
30, 2017), https://www.washingtonpost.com/opinions/dont-
overlook-the-kremlins-threats-to-our-courts/2017/10/30/f1e656aa-
bd8e-11e7-959c-fe2b598d8c00_story.html?utm_term=.f24d7859fd95
(Russian attempts to divide our people and alienate them from
their institutions include the judicial branch and American
juries).

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offices of the United States - in whatever branch we serve -
must humbly acknowledge that there exists in America today a
deep and pervasive sense of injustice. See e.g., Sophie

Gilbert, The Movement of #MeToo, The Atlantic (Oct. 16, 2017),

 

https://www.theatlantic.com/entertainment/archive/2017/lO/the-
movement-of-metoo/542979/; J.D. Vance, Hillbilly Elegy (Harper
Press, 2016); Elizabeth Day, #BlackLivesMatter: The Birth of a

New Civil Rights Movement, The Guardian (July 19, 2015)

 

https://www.theguardian.com/world/2015/jul/19/blacklivesmatter-
birth-civil-rights-movement.
When Margo Price sings plaintively -
at the end of the day,
it feels like a game

one I was born to losell

she’s speaking to the lives of far too many Americans.

CONCLUS ION
Upon this record and against this background, accepting
this “C” plea simply is not in the public interest. There are
just too many unknowns here and the “C” plea process itself
unduly hobbles this Court's sworn constitutional duty to “do

equal right to the poor and to the rich.” 28 U.S.C. § 453.

 

n Margo Price, Pay Gap, All American Made (Third Man Records
2017).

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I end as I began. I am not bargaining with anyone. The
problem is the “C” plea process itself. Indeed, as I have
already said, there is much in the proffered plea agreement to
commend. Moreover, there is here not a scintilla of evidence of
collusion among the parties. This does not appear to be a
sweetheart deal. Were this Court to have a free hand, I might
well sentence Aegerion to virtually the same sentence as the
parties here urge on the Court (that's what happened in
Orthofix) - or I might not. I simply do not know because, as
yet, the parties have deprived me of that responsibility,
perpetuating an improper and unjust two-tier system that erodes
public confidence in the sentence to be imposed in violation of
18 U.S.C 3553(a) (if indeed it does not violate the Equal
Protection clause of the 14th Amendment to the U.S.
Constitution).

This case will stand for trial as previously ordered.

 
     

WILLIAM G.
DISTRICT JU GE

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